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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                                LAFAYETTE DIVISION

   IN THE MATTER OF BULLY 1                      *   CIVIL ACTION NO. 6:22-cv-00566
   (SWITZERLAND) GMBH, AS                        *   c/w 6:21-cv-03527-RRS-CBW, c/w 2:21-
   OWNER AND NOBLE DRILLING                      *   cv-03993-RRS-CBW, c/w 2:21-cv-03994-
   (U.S.) LLC, AS OWNER PRO HAC                  *   RRS-PJH
   VICE, OF THE GLOBETROTTER II                  *
                                                 *   JUDGE ROBERT R. SUMMERHAYS
                                                 *
                                                 *   MAGISTRATE JUDGE CAROL B.
                                                 *   WHITEHURST


                                             ORDER

         Having considered the parties Stipulated Dismissal of Claimant Barry Skates, without

  Prejudice the Court finds that the stipulated dismissal should be GRANTED.

         It is therefore ORDERED, that Claimant Barry Skates, claims be and hereby are

  DISMISSED WITHOUT PREJUDICE.



         Signed this 31st day of August, 2022.



                                             __________________________________________
                                             HON. ROBERT R. SUMMERHAYS
